      Case 2:18-cr-00101-GEKP Document 434 Filed 07/12/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                :

            v.                          :        CRIMINAL NO. 18-101

MEHDI NIKPARVAR-FARD, et al.            :




                          WITHDRAWAL OF APPEARANCE

     Kindly withdraw my appearance on behalf of the United States of America.

                                        JACQUELINE C. ROMERO
                                        UNITED STATES ATTORNEY



                                          s/ Jason Bologna
                                        JASON BOLOGNA
                                        Assistant United States Attorney
